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THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
PHILIDELPHIA DIVISION

 

JANICE DEJESUS,
Plaintiff,
— against— Civil Action No.
Sallie Mae Financial Corporation, d/b/a Sallie
Mae; U.S. Asset Management, Inc.; and EOS | COMPLAINT
CCA, JURY TRIAL DEMANDED

Defendant(s).

 

 

Plaintiff, Janice DeJesus (hereinafter “Plaintiff’), by and through her attorneys, the Law
Offices of Robert S. Gitmeid & Associates, PLLC, by way of Complaint against Defendant Sallie
Mae Financial Corporation d/b/a Sallie Mae (“Sallie Mae”), Defendant U.S. Asset Management,
Inc. (“U.S. Asset Management”), and Defendant EOS CCA (“EOS), (together, “Defendants”),
hereby allege:

1. This is an action for damages brought by an individual consumer for Defendants breach
of contract, and violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,
et seq. (hereafter "FDCPA”). The FDCPA prohibits debt collectors from engaging in

abusive, deceptive, and unfair collection practices.

PARTIES

2. Plaintiff, Janice DeJesus, is an adult residing in Folcroft, Pennsylvania.

 
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Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
Defendant Sallie Mae is a business entity formed under the laws of Delaware with its

principal place of business located at 300 Continental Drive, Newark, Delaware 19713.

. Defendant U.S. Asset Management is a business entity formed under the laws of the

State of Massachusetts, with the principal purpose of purchasing and collecting
consumer debt, and its principal place of business located at 700 Longwater Drive,
Norwell, Massachusetts 02061.

Defendant U.S. Asset Management is a “debt collector” as defined by 15 U.S.C. §
1692a(6).

Defendant EOS is a business entity formed under the laws of the State of Massachusetts,
with the principal purpose of collecting consumer debt, and its principal place of
business located at 700 Longwater Drive, Norwell, Massachusetts 02061.

Defendant EOS is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

JURISDICTION AND VENUE
This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331. The Court has
supplemental jurisdiction for any state claims contained within pursuant to 28 U.S.C.
§ 1367.
The Court’s exercise of personal jurisdiction over Defendants is valid because a
substantial part of the events and omissions giving rise to Plaintiffs claim occurred
within the Court’s jurisdiction.

Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2).

 
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FACTUAL ALLEGATIONS

On or about May 31, 2019, Plaintiff entered into a settlement agreement with Sallie Mae
to settle and close Plaintiff's Sallie Mae account ending in 9702 and Plaintiff's Sallie
Mae account ending in 6645. A copy of the settlement agreement letter, memorializing
the terms of the settlement, is attached hereto as Exhibit A.

Pursuant to the terms of the settlement agreement, Plaintiff was required to make a lump
sum payment for each account, with both payments totaling $5,345.00.

On May 31, 2019, Plaintiff made available to Defendant Sallie Mae the payment for
Plaintiff's account ending in 9702, which totaled $761.73, and the payment for
Plaintiff's account ending in 6645, which totaled $4,584.00.

On June 17, 2019, Defendant Sallie Mae contacted Plaintiff, via her debt settlement
representative, and communicated that the payments made for Plaintiff's account ending
in 9702 and 6645 were, for an unknown reason, returned. At this time, Defendant Sallie
Mae agreed to reset the payments in order to complete the settlement agreements on
Plaintiff's accounts.

On June 18, 2019, Defendant Sallie Mae accepted and cashed the payments scheduled
on June 17, 2019. Proof of these payments is attached hereto as Exhibit B.

On October 18, 2019, Defendant Sallie Mae sold Plaintiff’s Sallie Mae account ending
in 9702 and Plaintiff's Sallie Mae account ending in 6645 to Defendant U.S. Asset
Management. Attached as Exhibit C are letters sent from Defendant Sallie Mae

notifying Plaintiff of the date of sale.

 
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On October 24, 2019, Defendant EOS, on behalf of Defendant U.S. Asset Management,
sent a Notice of Collection Placement letter to Plaintiff. This letter communicated to
Plaintiff that Plaintiff owed a debt totaling $5,695.67 on Plaintiffs Sallie Mae accounts
ending in 9702 and 6645. The Notice of Collection Placement letter is attached hereto
as Exhibit D.

On November 14, 2019, Plaintiff, via her debt settlement representative, contacted
Defendant EOS. During this call Defendant EOS, on behalf of Defendant U.S. Asset
Management communicated to Plaintiff that the balance on Plaintiff's two accounts was
valid. Additionally, Defendant EOS attempted to renegotiate on Plaintiffs two accounts
and provided an offer to settle Plaintiff's accounts for 30% of the current balance of
$5,726.33.

On or about December 06, 2019, Defendant EOS, on behalf of Defendant U.S. Asset
Management negotiated a second agreement in order to settle and close Plaintiff's Sallie
Mae accounts ending in 9702 and 6645. The total amount paid under these second
settlement agreements total $2,302.88. The settlement agreement letters sent from
Defendant EOS and proof of payment to Defendant EOS is attached hereto as
Exhibit E.

At all times pertinent hereto, Defendants acted by and through their agents, servants
and/or employees, who were acting within the scope and course of their employment,
and under the direct supervision and control of the Defendants herein.

At all times pertinent hereto, the conduct of Defendants, as well as that of their agents,
servants and/or employees, was malicious, intentional, willful, reckless, negligent and

in wanton disregard for federal law and the rights of the Plaintiff herein.

 
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COUNT 1

(Breach of Contract for account ending in 9702)

Plaintiff reasserts and incorporates herein by reference all facts and allegations set forth
above.

On or about May 31, 2019, Plaintiff entered into a settlement agreement with Sallie Mae
to settle and close Plaintiff's Sallie Mae account ending in 9702.

On May 31, 2019, Plaintiff, via her debt settlement representative, made payment
available to Defendant Sallie Mae. However, for an unknown reason, Defendant Sallie
Mae was unable to accept the payment.

On June 17, 2019, Defendant Sallie Mae communicated to Plaintiff, via her debt

settlement representative, that Plaintiff would be able to reset the payment to finish out

 

the settlement agreement. On June 18, 2019, Defendant Sallie Mae accepted Plaintiff's
payment in the amount of $761.73. With this acceptance, Plaintiff believed that
Defendant Sallie Mae would close Plaintiffs Sallie Mae account ending in 9702.
Despite accepting the above stated payment, on or about October 18, 2019, Defendant
Sallie Mae sold Plaintiff's Sallie Mae account ending in 9702 to Defendant U.S. Asset
Management, with a balance of $805.51.

As a result of Defendant Sallie Mae’s breach of contract, Plaintiff has suffered actual

and monetary damages.

COUNT 2

(Breach of Contract for account ending in 6645)

 
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Plaintiff reasserts and incorporates herein by reference all facts and allegations set forth
above.

On or about May 31, 2019, Plaintiff entered into a settlement agreement with Sallie Mae
to settle and close Plaintiff’s Sallie Mae account ending in 6645.

On May 31, 2019, Plaintiff, via her debt settlement representative, made payment
available to Defendant Sallie Mae. However, for an unknown reason, Defendant Sallie
Mae was unable to accept the payment.

On June 17, 2019, Defendant Sallie Mae communicated to Plaintiff, via her debt
settlement representative, that Plaintiff would be able to reset the payment to finish out
the settlement agreement. On June 18, 2019, Defendant Sallie Mae accepted Plaintiff's
payment in the amount of $4,584.00. With this acceptance, Plaintiff believed that
Defendant Sallie Mae would close Plaintiff's Sallie Mae account ending in 6645.
Despite accepting the above stated payment, on or about October 18, 2019, Defendant
Sallie Mae sold Plaintiff's Sallie Mae account ending in 6645 to Defendant U.S. Asset
Management, with a balance of $4,858.04.

As a result of Defendant Sallie Mae’s breach of contract, Plaintiff has suffered actual

and monetary damages.

COUNT 3
(Breach of the Implied Covenant of Good Faith and Fair Dealing)

Plaintiff reasserts and incorporates herein by reference all facts and allegations set forth
above.
Defendant Sallie Mae owed Plaintiff an implied covenant of good faith and fair dealing

with respect to the settlement agreement entered.

 
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By way of the foregoing conduct, Defendant Sallie Mae breached the implied covenant
of good faith and fair dealing that it owed to Plaintiff with respect to the settlement
agreement.

Defendant Sallie Mae has acted unreasonably and in bad faith and deprived Plaintiff of
the benefit of the bargain of the settlement agreement by refusing to perform their
obligations under the settlement agreement.

Specifically, Defendant Sallie Mae owed a duty to Plaintiff to take all steps to honor the
original agreement and to not engage in conduct that might result in the settlement
agreement not being honored.

As a result of Defendant Sallie Mae’s breach of the implied covenant of good faith and

fair dealing, Plaintiff has suffered actual and monetary damages.

COUNT 4
(Violation of the FDCPA for Defendant U.S. Asset Management)

Plaintiff reasserts and incorporates herein by reference all facts and allegations set forth
above.

The above contacts between Defendant U.S. Asset Management and Plaintiff constitute
“communications” relating to a “debt” as defined by 15 U.S.C. §§ 1692a(2) and
1692a(5) of the FDCPA.

FDCPA 15 U.S.C. § 1692(f) prohibits the use of unfair or unconscionable practices to
collect a debt, including collection of any amount not authorized by the contract or law.
FDCPA 15 U.S.C. § 1692e(2)(a) prohibits the false representation of the character,
amount or legal status of any debt. FDCPA 15 U.S.C. § 1692e(10) prohibits any false,
misleading, or deceptive representation or means in connection with the collection of a

debt.

 
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Defendant U.S. Asset Management engaged in abusive, deceptive, and unfair collection
practices where Defendant U.S. Asset Management misrepresented the amount of debt
owed by Plaintiff. This misrepresentation occurred on or about October 22, 2019, where
Defendant U.S. Asset Management, via its agent Defendant EOS, communicated to
Plaintiff that Plaintiff owed an additional $805.51 for Plaintiff's Sallie Mae account
ending in 9702 in order to settle and close her account.

Additionally, Defendant U.S. Asset Management misrepresented the amount of debt
owed by Plaintiff on or about October 22, 2019, where Defendant U.S. Asset
Management, via its agent Defendant EOS, communicated to Plaintiff that Plaintiff
owed an additional $4,858.04 for Plaintiff's Sallie Mae account ending in 6645 in order
to settle and close her account.

Further, Defendant U.S. Asset Management misrepresented the amount of debt owed by
Plaintiff on October 24, 2019, where Defendant U.S. Asset Management, via its agent
Defendant EOS, communicated to Plaintiff that the amount of debt owed for Plaintiff's
two accounts ending in 9702 and 6645 totaled $5,695.67.

Defendant U.S. Asset Management knew or should have known that its actions violated
the FDCPA. Additionally, Defendant U.S. Asset Management could have taken the
steps necessary to bring its actions within compliance with the FDCPA but neglected to
do so and failed to adequately review its actions to ensure compliance with said laws.
As aresult of the above violations of the FDCPA, Defendant U.S. Asset Management is

liable to Plaintiff for actual damages, statutory damages, attorney’s fees and costs.

COUNT 5
(Violation of the FDCPA for Defendant EOS)

 
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Plaintiff reasserts and incorporates herein by reference all facts and allegations set forth
above.

The above contacts between Defendant EOS and Plaintiff constitute “communications”
relating to a “debt” as defined by 15 U.S.C. §§ 1692a(2) and 1692a(5) of the FDCPA.
FDCPA 15 U.S.C. § 1692(f) prohibits the use of unfair or unconscionable practices to
collect a debt, including collection of any amount not authorized by the contract or law.
FDCPA 15 U.S.C. § 1692e(2)(a) prohibits the false representation of the character,
amount or legal status of any debt. FDCPA 15 U.S.C. § 1692e(10) prohibits any false,
misleading, or deceptive representation or means in connection with the collection of a
debt.

Defendant EOS engaged in abusive, deceptive, and unfair collection practices where
Defendant EOS misrepresented the amount of debt owed by Plaintiff. This
misrepresentation occurred on or about October 22, 2019, where Defendant EOS, on
behalf of Defendant U.S. Asset Management, communicated to Plaintiff that Plaintiff
owed an additional $805.51 for Plaintiff's Sallie Mae account ending in 9702 in order to
settle and close her account.

Additionally, Defendant EOS misrepresented the amount of debt owed by Plaintiff on
or about October 22, 2019, where Defendant EOS, on behalf of Defendant U.S. Asset
Management, communicated to Plaintiff that Plaintiff owed an additional $4,858.04 for
Plaintiff's Sallie Mae account ending in 6645 in order to settle and close her account.
Further, Defendant EOS violated the above provisions where Defendant EOS
communicated to Plaintiff that the balance of Plaintiff's two Sallie Mae accounts was

valid and required renegotiation. On November 14, 2019, Defendant EOS attempted to

 
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renegotiate Plaintiff's accounts and provided an offer to settle Plaintiff's accounts for
30% of the current balance of $5,726.33.

55. Lastly, Defendant EOS misrepresented the amount of debt owed by Plaintiff on October
24, 2019, where Defendant EOS, on behalf of Defendant U.S. Asset Management,
communicated to Plaintiff that the amount of debt owed for Plaintiff's two accounts
ending in 9702 and 6645 totaled $5,695.67.

56. Defendant EOS knew or should have known that its actions violated the FDCPA.
Additionally, Defendant EOS could have taken the steps necessary to bring its actions
within compliance with the FDCPA but neglected to do so and failed to adequately
review its actions to ensure compliance with said laws.

57. As a result of the above violations of the FDCPA, Defendant EOS is liable to Plaintiff

for actual damages, statutory damages, attorney’s fees and costs.

PRAYER FOR RELIEF

 

WHEREFORE, Plaintiff demands that judgment be entered against Defendants as
follows:
1) That judgment be entered against Defendant U.S. Asset Management and Defendant
EOS for actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
2) That judgment be entered against Defendant U.S. Asset Management and Defendant
EOS for statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);
3) That the Court award costs and reasonable attorney’s fees pursuant to 15 U.S.C. §

1962k(a)(3);

 
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4) That judgment be entered against Defendant Sallie Mae for actual and monetary
damages accrued by Plaintiff as a result of Defendant’s breach of contract;

5) That judgment be entered against Defendant Sallie Mae for actual and monetary
damages accrued by Plaintiff as a result of Defendant’s breach of the implied
covenant of good faith and fair dealing; and

6) That the Court grant such other and further relief as may be just and proper.

DEMAND FOR JURY TRIAL
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand trial by

jury in this action of all issues so triable.

Respectfully Submitted,

Dose '
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piates, PLLC

 

 

 

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Counsel for Plaintiff

 

 
